






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00124-CV






Detran Levy, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. AG 07-001250, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING





M E M O R A N D U M  O P I N I O N


		Appellant Detran Levy appeals the district court's final order appointing a non-parent
as managing conservator for his daughter and appointing him possessory conservator with standard
visitation rights.  Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  See Tex Fam. Code Ann. § 107.013 (West 2008) (stating that indigent
parent is entitled to appointed counsel in proceedings by governmental entity seeking to terminate
the parent-child relationship or seeking appointment as temporary managing conservator).  The brief
meets the requirements of Anders v. California, 386 U.S. 738 (1967), by presenting a professional
evaluation of the record and demonstrating why there are no arguable grounds to be advanced on
appeal.  See In re L.K.H., No. 11-10-00080-CV, 2010 WL 3621840, at *1 (Tex. App.--Eastland
Sept. 16, 2010) (abatement order, not released for publication) (applying Anders in appeal from
order&nbsp;appointing Texas Department of Family and Protective Services as permanent managing
conservator), motion granted, 2011 WL 846067, at *1 (Tex. App.--Eastland Mar. 10, 2011, no pet.)
(mem. op.); cf. Taylor v. Texas Dep't of Protective &amp; Regulatory Servs., 160 S.W.3d 641, 646-47
(Tex. App.--Austin 2005, pet. denied) (applying Anders procedure in appeal from termination of
parental rights); In re K.S.M., 61 S.W.3d 632, 634 (Tex. App.--Tyler 2001, no pet.) (noting that
whether proceeding is criminal or civil "makes no difference in the duties court-appointed counsel
owes his or her client"); In re A.W.T., 61 S.W.3d 87, 88 (Tex. App.--Amarillo 2001, no pet.) (stating
that "[t]he rationale underlying Anders is no less applicable to a civil matter in which counsel has
been appointed to represent the appellant" because it is premised on attorney's need to balance
zealous representation of client against prohibition against prosecuting meritless appeal).  Counsel
has certified to this Court that he provided appellant with a copy of the Anders brief and a notice of
his right to examine the appellate record and file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  Finding nothing in the record that might arguably support an appeal, we grant
counsel's motion to withdraw and affirm the trial court's order.


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Rose

Affirmed

Filed:   July 12, 2012


